          Case 1:20-cv-03377-DLF Document 66 Filed 08/03/21 Page 1 of 2



                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


 ALABAMA ASSOCIATION OF
 REALTORS, et al.,
                                                       No. 20-cv-3377 (DLF)
     Plaintiffs,

         v.

 UNITED STATES DEPARTMENT OF
 HEALTH AND HUMAN SERVICES, et al.,

     Defendants.


                                              NOTICE

        Defendants respectfully notify the Court that on July 31, 2021, the Centers for Disease Control

and Prevention eviction moratorium that is the subject of this lawsuit expired. On August 3, 2021,

however, CDC issued a new order entitled “Temporary Halt in Residential Evictions in Communities

with Substantial or High Levels of Community Transmission of COVID-19 to Prevent the Further

Spread of COVID-19,” which it determined was necessary especially in light of recent spread caused

by the Delta variant. See https://go.usa.gov/xF5yV. Unlike the previous Order, this Order applies

exclusively in areas experiencing substantial or high transmission. It applies through October 3, 2021.

Dated: August 3, 2021                                  Respectfully submitted,

                                                       BRIAN M. BOYNTON
                                                       Acting Assistant Attorney General

                                                       ERIC BECKENHAUER
                                                       Assistant Director, Federal Programs Branch

                                                       /s/ Steven A. Myers
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Case 1:20-cv-03377-DLF Document 66 Filed 08/03/21 Page 2 of 2



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